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                    2122-CC00941 - ELIZABETH MARSHALL V QUIKTRIP ET AL (E-CASE)


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  06/02/2021        Corporation Served
                    Document ID - 21-SMCC-2973; Served To - DOE, JOHN; Server - M BARRETT, SERVICE DEPUTY;
                    Served Date - 01-JUN-21; Served Time - 10:40:00; Service Type - Sheriff Department; Reason
                    Description - Served; Service Text - DERRICK/MGR

  05/26/2021        Jury Trial Scheduled
                       Scheduled For: 11/08/2021; 9:00 AM ; MICHAEL FRANCIS STELZER; City of St. Louis

  05/18/2021        Summ Issd- Circ Pers Serv O/S
                    Document ID: 21-SMOS-1652, for QUIKTRIP.
                    Summons Issued-Circuit
                    Document ID: 21-SMCC-2973, for DOE, JOHN.
                    Filing Info Sheet eFiling
                        Filed By: THOMAS EDWARD FAGAN
                    Pet Filed in Circuit Ct
                    Petition.
                       Filed By: THOMAS EDWARD FAGAN
                       On Behalf Of: ELIZABETH MARSHALL
                    Judge Assigned
  Case.net Version 5.14.18                            Return to Top of Page                                   Released 05/29/2021




 https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                             6/30/2021
                                                                                                                      EXHIBIT A


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                                                                                                           Electronically Filed - City of St. Louis - May 18, 2021 - 01:18 PM
                                                                                   2122-CC00941

                   33IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                 STATE OF MISSOURI


ELIZABETH MARSHALL,                            )
                                               )
                        Plaintiff,             )
                                               )       Cause No.
                vs.                            )
                                               )       Division
QUIKTRIP #636,                                 )
                                               )
                                               )
Serve:          Dave Daniels                 )
                Registered Agent             )
                4705 South 129th East Avenue )
                Tulsa, Oklahoma 74134        )
                                               )
         And                                   )
                                               )
JOHN DOE                                       )
                                               )
Serve:          Manager of QuikTrip #636       )
                4101 Gravois                   )
                St. Louis, MO 63116            )
                                               )
                        Defendants.            )

                                             PETITION

         Comes now Plaintiff, Elizabeth Marshall (hereinafter “Plaintiff”), by and through

counsel, and for her cause of action against Defendants QuikTrip #636 and Store Manager John

Doe, (Hereinafter “Defendants”) states:

                                              COUNT I

                          DEFENDANT QUIKTRIP CORPORATION

         1. At all pertinent times herein, Plaintiff was a resident of Missouri.

         2. At all pertinent times herein, Defendant QuikTrip #636 is a corporation operating a

            business in the City of St. Louis, located at 4101 Gravois.
                                                                                          EXHIBIT A


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                                                                                                        Electronically Filed - City of St. Louis - May 18, 2021 - 01:18 PM
  3. At all pertinent times herein, Defendant John Doe was a resident of Missouri.

  4. At all pertinent times herein, Defendant QuikTrip Corporation was the owner of the

     property located at 4101 Gravois, St. Louis, MO 63116.

  5. At all pertinent times herein, Defendant John Doe was the Manager of QuikTrip

     #636, with a duty to keep the premises free from defect and dangerous conditions.

  6. At all pertinent times herein, Defendant QuikTrip acted by and through its agents,

     servants and employees, including John Doe who acted within the course and scope

     of their employment and agency.

  7. On or about January 13, 2017 Plaintiff Elizabeth Marshall as a customer and invitee

     of said Defendant, encountered an unreasonably dangerous condition on Defendant’s

     said premises, to wit: ice and snow located at the entrance/exit of Defendant’s store,

     causing her to slip and fall.

  8. The Defendants were negligent in that they knew or by using ordinary care could

     have known of the aforesaid unreasonably dangerous condition; Defendants failed to

     use ordinary care, in the following respects, to wit:

         a) Defendants failed to remove said unreasonably dangerous condition;

         b) Defendants failed to warn of said unreasonably dangerous condition;

         c) Defendants failed to barricade said unreasonably dangerous condition; and

         d) Defendants failed to remedy said unreasonably dangerous condition.

  9. As a direct result or direct contributing result of the aforesaid negligence, Plaintiff

     sustained injuries to her bilateral knees, requiring surgery and extensive physical

     therapy.




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       10. As a direct result or direct contributing result of the aforesaid negligence, Plaintiff’s

           injuries, as aforesaid, are permeant, disabling, and continuing. Plaintiff has sustained

           pain and suffering and will do so in the future. Plaintiff has limitations in movement

           and range of motion.

       WHEREFORE, Plaintiff prays damages against Defendant QuikTrip Corporation, in a

sum that will fairly and justly compensate her, in excess of Twenty-Five Thousand Dollars

($25,000.00) and for her costs herein expended.

                                            COUNT II

                                  DEFENDANT JOHN DOE

       Plaintiff, for her cause of action against Defendant John Doe individually, states as

follows:

       11. All of the previous allegations are hereby adopted, realleged and incorporated as fully

           set forth herein.

       12. Defendant John Doe was negligent in that they knew or by using ordinary care could

           have known of the aforesaid unreasonably dangerous condition; Defendant failed to

           use ordinary care, in the following respects, to wit:

               a) Defendant failed to remove said unreasonably dangerous condition;

               b) Defendant failed to warn of said unreasonably dangerous condition;

               c) Defendant failed to barricade said unreasonably dangerous condition; and

               d) Defendant failed to remedy said unreasonably dangerous condition.

       13. As a direct result or direct contributing result of the aforesaid negligence, Plaintiff

           sustained injuries to her bilateral knees, requiring surgery and extensive physical

           therapy.




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                                                                                                                Electronically Filed - City of St. Louis - May 18, 2021 - 01:18 PM
       14. As a direct result or direct contributing result of the aforesaid negligence, Plaintiff’s

           injuries, as aforesaid, are permeant, disabling, and continuing. Plaintiff has sustained

           pain and suffering and will do so in the future. Plaintiff has limitations in movement

           and range of motion.

       WHEREFORE, Plaintiff prays damages against Defendant John Doe, in a sum that will

fairly and justly compensate her, in excess of Twenty-Five Thousand Dollars ($25,000.00) and

for her costs herein expended.

                                             Respectfully submitted,

                                             HULLVERSON LAW FIRM


                                      By:    _/s/ Thomas E. Fagan______________
                                             Thomas E. Fagan, #43607
                                             Attorneys for Plaintiff
                                             1010 Market St., Suite 1480
                                             St. Louis, MO 63101
                                             (314) 421-2313
                                             (314) 421-2341 fax
                                             tfagan@hullverson.com




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             IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

Judge or Division:                                              Case Number: 2122-CC00941
MICHAEL FRANCIS STELZER                                                                                                 Special Process Server 1
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ELIZABETH MARSHALL                                              THOMAS EDWARD FAGAN                                     Special Process Server 2
                                                                1010 MARKET STREET
                                                                SUITE 1480
                                                          vs.   ST. LOUIS, MO 63101                                     Special Process Server 3
Defendant/Respondent:                                           Court Address:
QUIKTRIP                                                        CIVIL COURTS BUILDING
Nature of Suit:                                                 10 N TUCKER BLVD
CC Pers Injury-Other                                            SAINT LOUIS, MO 63101                                        (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: JOHN DOE
                            Alias:
 SERVE MANAGER OF QUIKTRIP #636
 4101 GRAVOIS
 ST. LOUIS, MO 63116
      COURT SEAL OF        You          are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.

      CITY OF ST LOUIS                  May 18, 2021
                                     ________________________                      ______________________________________________________
                                             Date                                                        Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.

OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-2973             1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                                                                EXHIBIT A


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              IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                          Case Number: 2122-CC00941
 MICHAEL FRANCIS STELZER                                                                                              Special Process Server 1
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 ELIZABETH MARSHALL                                          THOMAS EDWARD FAGAN                                      Special Process Server 2
                                                             1010 MARKET STREET
                                                             SUITE 1480
                                                       vs.   ST. LOUIS, MO 63101                                      Special Process Server 3
 Defendant/Respondent:                                       Court Address:                                           (Date File Stamp)
 QUIKTRIP                                                    CIVIL COURTS BUILDING
 Nature of Suit:                                             10 N TUCKER BLVD
 CC Pers Injury-Other                                        SAINT LOUIS, MO 63101
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to:     QUIKTRIP
                                Alias: DBA QUIKTRIP #636
  C/O DAVE DANIELS RAGT
  4705 SOUTH 129TH EAST AVENUE
  TULSA, OK 74134
     COURT SEAL OF              You are summoned to appear before this court and to file your pleading to the petition, copy of
                                which is attached, and to serve a copy of your pleading upon the attorney for the
                                plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                                you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                                taken against you for the relief demanded in this action.
                                          May 18, 2021
     CITY OF ST LOUIS          ___________________________________                 _______________________________________________
                                                    Date                                                Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                           ______________________________________________________
                   Printed Name of Sheriff or Server                                             Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            __________________________________________________________
                                                                                                Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
                              See the following page for directions to officer making return on service of summons.

OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 21-SMOS-1652            1 of 2 (2122-CC00941)           Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                          506.500, 506.510 RSMo
                                                                                                                           EXHIBIT A


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                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 21-SMOS-1652    2 of 2 (2122-CC00941)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                               506.500, 506.510 RSMo
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